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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PATRICK CALHOUN, et al.,                           Case No. 20-cv-05146-YGR (SVK)
                                   8                   Plaintiffs,
                                                                                           ORDER TO PROVIDE CHAMBERS
                                   9            v.                                         COPIES OF DECLARATIONS AND
                                                                                           EXHIBITS ON GOOGLE’S MOTION
                                  10    GOOGLE LLC,                                        FOR RELIEF FROM PRESERVATION
                                                                                           ORDER
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          By December 9, 2022, the Court requests that Google submit two sets of chambers copies
                                  14   of the sealed declarations and exhibits (not briefs) filed in connection with Google’s motion for
                                  15   relief from preservation order (Dkt. 898). The chambers copies should be organized in binders of

                                  16   3 inches or less with labeled tabs and may be delivered to the San Jose Clerk’s Office by 1:00 p.m.

                                  17   or placed in the drop box at the San Jose Courthouse by 5:00 p.m. Future declarations and

                                  18   exhibits filed in connection with this motion are to be submitted by the filing party in the same

                                  19   manner by noon on the day following filing.

                                  20          SO ORDERED.

                                  21   Dated: December 6, 2022

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                                                                                                    SUSAN VAN KEULEN
                                  24                                                                United States Magistrate Judge
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